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 1   ARTURO HERNANDEZ-M., Attorney at Law
     THE LAW OFFICES OF ARTURO HERNANDEZ-M.
 2
     California State Bar No. 108980
 3   15 S. 34th Street
     San Jose, CA 95116
 4   Phone: (408) 729-5785
     Fax: (408) 729-0167
 5

 6   Attorney for Defendant
     OCTAVIO GALLEGOS-VASQUEZ
 7

 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                               )
     UNITED STATES OF AMERICA,                   )   CASE NOS. 1:13-CR-00218-AWI
11                                               )
            Plaintiff,                           )                1:03-CR-05066-AWI
12                                               )
            vs.                                  )
                                                     STIPULATION AND ORDER FOR
13                                               )
     OCTAVIO GALLEGOS VASQUEZ,                   )   CONTINUANCE OF SENTENCING
14
                                                     HEARINGS
                                                 )
            Defendant.                           )
15
                                                 )
                                                 )   DATE:          TBD
16
                                                 )   TIME:          TBD
17
                                                 )   DEPT.:         C-2
                                                     EST:           15 MIN
18

19   TO THE UNITED STATES OF AMERICA AND ITS ATTORNEY OF RECORD,

20   KATHLEEN A. SERVATIUS, A.U.S.A.; ALL COUNSEL ENTITLED TO RECEIVE

21
     NOTICE; THE CLERK OF THE ABOVE COURT; AND THE HONORABLE JUDGE
     PRESIDING IN SAID COURT:
22

23
                            STIPULATION FOR CONTINUANCE
24
            Plaintiff United States of America and Defendant Octavio Gallegos Vasquez
25
     hereby stipulate and request this Court to continue the scheduled sentencing hearing from
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28                                             1
                  STIPULATION AND ORDER FOR CONTINUANCE OF SENTENCING HEARING
 Case 1:03-cr-05066-AWI-BAM Document 44 Filed 11/13/15 Page 2 of 3


 1   November 23, 2015, at 10:00 a.m. to any date and time after January 9, 2016 that is
 2   convenient for the court.

 3          Defendant’s council seeks this continuance for medical reasons.

 4
     Dated: November 12, 2015                    Respectfully submitted
 5
                                                 By: /s/ Arturo Hernandez-M.
 6                                                       ARTURO HERNANDEZ-M.
                                                         Attorney for Defendant
 7
                                                         OCTAVIO GALLEGOS VASQUEZ
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                                  By: /s/ Kathleen A. Servatius (as authorized on 11/12/15).
11                                        KATHLEEN A. SERVATIUS
                                          AUSA for Plaintiff
12                                        UNITED STATES OF AMERICA
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                 STIPULATION AND ORDER FOR CONTINUANCE OF SENTENCING HEARING
 Case 1:03-cr-05066-AWI-BAM Document 44 Filed 11/13/15 Page 3 of 3


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                           IN THE UNITED STATES DISTRICT COURT
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                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                   )
     UNITED STATES OF AMERICA,                     )   CASE NOS. 1:13-CR-00218-AWI
10
                                                   )
            Plaintiff,                             )                1:03-CR-05066-AWI
11
                                                   )
            vs.                                    )
12
                                                   )
     OCTAVIO GALLEGOS VASQUEZ,                     )   ORDER FOR CONTINUANCE OF
13
                                                   )
            Defendant.                             )   SENTENCING HEARINGS
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                                                   )
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            Based upon the stipulation of the parties, and good cause appearing, the court
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     grants the defendant’s request to vacate the sentencing hearing date November 23, 2015.
19
     It is further ordered that these matters be set for sentencing on January 25, 2016, at 10:00.
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     IT IS SO ORDERED.
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23   Dated: November 13, 2015
                                                  SENIOR DISTRICT JUDGE
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                  STIPULATION AND ORDER FOR CONTINUANCE OF SENTENCING HEARING
